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                   UNITED STATES DISTRICT InteS E D
                    MIDDLE DISTRICT OF ALABAMA
                         EASTERN DIVISIONI3 GEC -LI A 10: 1 I

                                               DFBRA A. HI.ACKETT, CLK
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GOLDEN STATE FOODS                                           (.7:-'1" A L A
CORPORATION,a Delaware
corporation,

     Plaintiff,

v.
                                       Civil Action No.:3.        1%-civ-1 pao
                                           DEMAND FOR JURY TRIAL
GEA SYSTEMS NORTH
AMERICA LLC f/k/a GEA
PROCESS ENGINEERING,INC., a
Maryland limited liability company;
ERIC JOHNSTON,an individual;
DMITRY KHOKLOV,an
individual; MARKUS WOLFF,an
individual; JEFF CHEN,an
individual; DOUG CAMPBELL,an
individual; KARL PARKINSON,an
individual; JOHN ANSBRO,an
individual; NEILS ERIK OLSEN,
an individual; ALLIANZ GLOBAL
RISKS U.S.INSURANCE
COMPANY,an Illinois corporation;
ZURICH AMERICAN
INSURANCE COMPANY,an New
York corporation; AMERICAN
ZURICH INSURANCE
COMPANY,an Illinois corporation,

     Defendants.
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                                  COMPLAINT

      Plaintiff Golden State Foods Corporation ("Plaintiff' or "GSF") brings suit

for breach of contract, breach of the covenant of good faith and fair dealing, fraud

— intentional misrepresentation, fraud — negligent misrepresentation, breach of

express warranty, violation of Alabama Deceptive Trade Practices Act under

Alabama Code §§ 8-19-1 et seq., and unjust enrichment against GEA Systerns

North America, LLC f/k/a GEA Process Engineering, Inc.(`GEA"); Eric Johnston;

Dmitry Khoklov; Markus Wolff; Jeff Chen; Doug Campbell; Karl Parkinson; John

Ansbro; and Neils Erik Olsen (collectively "GEA Defendants"). GSF also brings

suit for indemnification against GEA and Allianz Global Risks U.S. Insurance

Company; Zurich American Insurance Company, and American Zurich Insurance

Company(collectively "Insurance Defendants") and alleges as follows:

                                 THE PARTIES

      1.    Plaintiff Golden State Foods Corporation is, and at all relevant times

was, a Delaware corporation with its principal place of business at 18301 Von

Karman Avenue Suite 1100, Irvine, CA 92612.

      2.    Upon information and belief, Defendant GEA Systems North

America, LLC f/k/a GEA Process Engineering, Inc. is, and at all relevant times

was, a Maryland limited liability company with a principal place of business

located at 9165 Rumsey Road, Columbia, Maryland 21045.



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       3.   Upon information and belief, Defendant Eric Johnston is, and at all

relevant times was, a North Carolina citizen doing business in Durham, North

Carolina, and serving as Regional Sales Manager — North Central and Southeast

USA,for GEA.

       4.   Upon information and belief, Defendant Dmitry Khoklov is, and at all

relevant times was, a Canadian citizen doing business in Richmond, British

Colombia, Canada, and serving as Project Manager for GEA.

       5.   Upon information and belief, Defendant Markus Wolff is, and at all

relevant times was, a Canadian citizen doing business in Richmond, British

Colombia, Canada, and serving as Manager — Project Management — Freezer, for

GEA.

       6.   Upon information and belief, Defendant Jeff Chen is, and at all

relevant times was, a Canadian citizen doing business in Richmond, British

Colombia, Canada and serving as Manager — Project Management,for GEA.

       7.   Upon information and belief, Defendant Doug Campbell is, and at all

relevant times was, a Canadian citizen doing business in Richmond, British

Colombia, Canada, and serving as Engineer for GEA.

       8.   Upon information and belief, Defendant Karl Parkinson is, and at all

relevant times was, a Wisconsin citizen doing business in Hudson, Wisconsin, and

serving as Vice President of Food Applications — North America,for GEA.



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      9.     Upon information and belief, Defendant John Ansbro is, and at all

relevant times was, a Pennsylvania citizen doing business in Columbia, Maryland,

and serving as President of Sales for GEA.

      10.    Upon information and belief, Defendant Neils Erik Olsen is, and at all

relevant times was, a Wisconsin citizen doing business in Hudson, Wisconsin, and

serving on the Executive Board for GEA.

      11.    Defendant Allianz Global Risks U.S. Insurance Company is an

Illinois corporation with a principal place of business located at 225 West

Washington Street, Suite 1800, Chicago, Illinois 60606.

      12.    Defendant Zurich American Insurance Company is a New York

Corporation with a principal place of business located at 1299 Zurich Way,

Schaumburg, Illinois 60196.

      13.    Defendant American Zurich Insurance Company is an Illinois

corporation with a principal place of business located at 1299 Zurich Way,

Schaumburg, Illinois 60196.

      14.   Defendants' actions alleged herein were those of themselves, their

agents and/or licensees, and they are jointly and severally liable for the conduct of

one another as though taken themselves.




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                         JURISDICTION AND VENUE

      15.    This Court has subject matter jurisdiction over the claims and causes

of action asserted in this Complaint pursuant to 28 U.S.C. § 1332 because the

amount in controversy exceeds $75,000, exclusive of interest and costs, and

Plaintiff, on the one hand, and the Defendants, on the other hand, are citizens of

different states for purposes of determining diversity jurisdiction.

      16.    This Court has personal jurisdiction over GEA Defendants because

GEA Defendants have extensive contacts with the State of Alabama, and as such,

the exercise of jurisdiction does not offend traditional notions of fair play and

substantial justice. GEA Defendants have purposefully availed themselves of the

privileges and laws of Alabama, and continuously, systematically, and

purposefully conduct business within this District. Moreover, GEA Defendants

contracted to supply services and goods in this state for a GSF facility in Opelika,

Alabama.

      17.    Personal jurisdiction exists over all GEA Defendants and Insurance

Defendants because they purposefully directed the intentional and harmful conduct

alleged below at this forum, and purposefully availed themselves of the benefits of

Alabama with respect to the claims alleged herein.

      18.    Venue is proper in this judicial district under 28 U.S.0 § 1391 because

a substantial portion of the events of omissions giving rise to the claims occurred



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in this district, the Agreement subject of this dispute was to be performed within

this district, and Defendants reside in this district by virtue of being subject to

personal jurisdiction in this judicial district by, among others, their repeated

availment and direction of their activities toward this district.

                             GENERAL ALLEGATIONS

       19.   GSF engages in processing, production, and distribution of liquid

products, meat products, produce, dairy, and other food items. It services more

than 120,000 restaurants from its 41 locations on five continents.

      20.    GEA is a supplier of production plants and systems for the food

processing industry, among other industries.

      21.    In early 2016, GSF expressed interest in purchasing spiral freezers

from GEA for a production facility of hamburger patties GSF planned to build in

Opelika, Alabama. GEA Defendants offered to include equipment, conveying, and

installation to GSF from former cuber conveyors through spiral freezers to align

with their business needs.

      22.    GEA produced several project proposals for GSF. The operative

project proposal (Number U121023) includes the specifications of GEA's A-Tec

30CC-2x17-112 Twin Belt spiral freezers (the "Spiral Freezers"). The proposal

lists each Spiral Freezer's freezing capacity at 2 x 7,500 pounds of hamburger




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patties per hour, i.e. 15 000 pounds per hour. In this proposal, GEA quoted a price

of $3,516,400 for three Spiral Freezers.

      23.   Based on GEA Defendants' representations, GSF agreed to purchase

three of GEA's Spiral Freezers for use in freezing hamburger patties at its Opelika,

Alabama facility. GSF designed and built the facility based on the specifications

included in GEA's project proposal.

      24.   In or around July 2016, GSF entered into an agreement to purchase

three Spiral Freezers from GEA. Likewise, GEA agreed to install and service the

Spiral Freezers at GSF's Opelika facility. The agreement is composed of the

following documents: (1) AIA Document A141 Agreement with exhibits, (2)

August 2 2016 Project Proposal Number U121023, Rev. Q, and (3) Preferred

Vendor Master Supply and Services Agreement(collectively, the "Agreement").

      25.   Pursuant to the terms and conditions of the AIA Agreement, the

governing law provision states the Agreement "shall be governed by the law of the

place where the Project is located." (Ex. A Terms and Conditions, § A.13.1.1.)

Because the Project is located in Opelika, Alabama, Alabama state law will apply.

                Repeated Malfunctioning of the Spiral Freezers

      26.   In August 2017, GEA represented that the installation of the Spiral

Freezers was purportedly complete and GSF could start production of their




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hamburger patties. The Spiral Freezers immediately demonstrated a repeated

failure to reach the 15,000 pounds per hour production that GEA had promised.

      27.   For example, the defective Spiral Freezers had a variety of issues,

including but not limited to the following problems:

         a. The motor and gearboxes on the Spiral Freezers persistently failed and

            became inoperative for long durations of the 17-hour production shift

            (the industry standard).

         b. GSF discovered that GEA had installed motors and gearboxes that

            were designed for different mounting configurations than were being

            used. The motors had weep holes in the motor connection box that

            were designed for horizontal mounting. GEA improperly mounted the

            motors in the Spiral Freezers vertically, causing them to fill with

            water and short out.

         c. Coils in the Spiral Freezers had no frost abatement system and caused

            large amounts of ice to build up, thereby preventing free flow of air

            across coils and automatic shutdown. Air balance within the Spiral

            Freezers remain a continued problem. The Spiral Freezers are not

            capable ofrunning a full day without defrost.

         d. Lower access doors were placed on the wrong side causing

            individuals to step on the product belts to gain internal access to the



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             Spiral Freezers. GEA failed to supply walk over platforms.

      28.   GEA Defendants represented that they would remedy the defects in

the Spiral Freezers. However, GEA Defendants left many substantial issues

unresolved, including but not limited to the following:

         a. On October 13, 2017, GSF informed GEA that GEA's previous repair

            attempts had failed and that, as a result, hamburger patties were

            "flying around like popcorn." GEA tried and failed to fix the Spiral

            Freezers. GSF was forced to contact GEA again just six days later, on

            October 19, to complain of its reduced production output due to

            "patties being blown around, motors going out on a regular basis,

            sensors failing on a regular basis" and issues with maintaining freezer

            temperature.

         b. On December 1, 2017, GSF contacted GEA about the failure of four

            gear boxes due to water damage stemming from what GSF believed to

            be faulty product design and installation. This gear box failure

            severely restricted patty production, and GSF had to contact GEA

            again on December 11 to ask when gear box failures and other motor

            failures would be addressed.

         c. During the weekend of February 9-12, 2018, GSF shut down its

            production to allow GEA to implement a modification to correct air



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             balance issues. After making written commitments to have the

            appropriate team on hand to start up after the modifications, start up

             was delayed on February 13 as the only GEA personnel on site stated

            they d d not have the expertise to deal with the issues that were

            present. GEA had promised to have a commissioning engineer at the

            facility from February 13 through 15. This engineer did not arrive on

            the 13th as promised, and GEA did not notify or explain its change in

            plans to GSF.

         d. On February 22, 2018, GSF contacted GEA with a laundry list of

            issues requiring GEA's attention, including its inability to run the

            Spiral Freezers for a full production day. It was not until over two

            weeks later, on March 9, that GEA Vice President Karl Parkinson

            responded with only a promise to schedule a meeting with the GEA

            team for the following week.

      29.   To date, the defective Spiral Freezers remain incapable of running a

full 17-hour production shift and continue to malfunction.

      30.   In good faith and based on GEA Defendants' continued assurances

that the Spiral Freezers would be repaired, GSF continued making progress

payments to GEA pursuant to the terms ofthe Agreement.

      31.   GEA     requested    that   GSF     sign   and   return   a   Project



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Acceptance/Warranty Certificate dated March 27, 2018. GSF rejected the

Certificate citing the ongoing issues with the Spiral Freezers' performance. GSF

also rejected GEA's June 4, 2018 demand for payment of the outstanding amount

of $371,500.00 for the Spiral Freezers, pending resolution of the issues between

the parties.

      32.      GSF invested significant time, money, and energy to ensure the

success of the Opelika facility, and GEA received substantial remuneration for its

products. GEA Defendants, however, failed to provide working Spiral Freezers as

they promised causing GSF substantial harm, loss of product, and damages arising

from destruction of GSF's tangible property.

      33.      GSF has incurred in excess of $9 million in losses, including but not

limited to, a multi-million dollar demand against it for inability to fulfill a

substantial supply contract due to the Spiral Freezers' malfunctions.

                           FIRST CAUSE OF ACTION
                           BREACH OF CONTRACT
                            (Against GEA Defendants)

      34.      GSF incorporates by reference all other paragraphs contained in this

Complaint as if stated herein.

      35.      GSF and GEA Defendants entered into a binding, valid, and

enforceable written contract — the Agreement — to purchase three Spiral Freezers

from GEA,supported by adequate consideration. Pursuant to the Agreement, GEA



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Defendants were responsible for installing and servicing the Spiral Freezers at

GSF's Opelika facility.

      36.    GSF performed its obligations to GEA Defendants under the

Agreement(or was excused from such performance).

      37.    Under the terms of the Agreement, GEA Defendants were under a

duty to deliver and install three Spiral Freezers capable of freezing 15,000 pounds

of hamburger patties per hour.

      38.    GEA Defendants have breached the Agreement by providing

defective Spiral Freezers, including but not limited to, failing to provide Spiral

Freezers that can consistently perform at the promised freezing capacity and failing

to timely repair the pervasive malfunctioning components ofthe Spiral Freezers.

      39.    Despite GSF's repeated demands for GEA Defendants to bring the

Spiral Freezers up to the required freezing capacity and repair their defects, GEA

Defendants have failed to comply with their contractual obligations.

      40.    As a direct and proximate result of the GEA Defendants wrongful

acts, GSF has suffered and continues to suffer substantial pecuniary losses and

irreparable injury to its business reputation and goodwill.

      41.    Such acts have caused damages in an amount to be established at trial.

      42.    The Agreement provides that the prevailing party in an action to

enforce this Agreement or because of breach of this Agreement is entitled to



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payment of reasonable costs and expenses incurred, including expert fees and

attorneys' fees. As a result of this action, GSF has incurred costs, expenses, and

fees, and is entitled to recover in an amount to be deterrnined at trial.

                SECOND.CAUSE OF ACTION
 BREACH OF THE COVENANT OF GOOD FAITH AND FAIR DEALING
                  (Against GEA Defendants)

      43.    GSF incorporates by reference all other paragraphs contained in this

Complaint as if stated herein.

      44.    As described in the preceding paragraphs above, GSF and GEA

entered into an Agreernent for the sale, installation, and service of three Spiral

Freezers.

      45.    The Agreement contained an implied covenant of good faith and fair

dealing whereby GEA Defendants promised to fairly, honestly, and reasonably

perform its obligations under the Agreement.

      46.    GEA Defendants breached the implied covenant of good faith and fair

dealing by, among other things, failing to fulfill their contractual obligation to

bring the Spiral Freezers up to the promised freezing capacity of 15,000 pounds of

hamburger patties per hour and failing to timely repair the pervasive

malfunctioning components ofthe Spiral Freezers.




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      47.    As a direct and proximate result of the GEA Defendants' wrongful

acts, GSF has suffered and continues to suffer substantial pecuniary losses and

irreparable injury to its business reputation and goodwill.

      48.    Such acts have caused damages in an amount to be established at trial.

                   THIRD CAUSE OF ACTION
    FRAUD — INTENTIONAL MISREPRESENTATION/SUPPRESSION
                    (Against GEA Defendants)

      49.    GSF incorporates by reference all other paragraphs contained in this

Complaint as if stated herein.

      50.    GEA Defendants misrepresented to GSF that the Spiral Freezers could

produce the 15,000 pounds per hour production that GSF required to run its

Opelika facility.

      51.    On information and belief, GSF alleges that GEA Defendants'

misrepresentations as to the Spiral Freezers production capacity were false,

because GEA Defendants knew the Spiral Freezers could not perform as promised

in their August 2, 2016 Project Proposal Number U121023, Rev. Q and various

sales pitches, whereby GEA Defendants specifically stated to GSF that the Spiral.

Freezers had the capability to efficiently run for a 17-hour production shift.

Instead, GEA Defendants' representations were a ploy to deceive and induce GSF

to agree to purchase its products over other those of other companies under false

pretenses.



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      52.    Furthermore, GEA made written commitments to send a qualified

commissioning engineer to the Opelika facility to resolve ongoing technical issues

with the Spiral Freezers, as discussed in Paragraph 27 above. However, this

engineer did not arrive as promised, and GEA did not notify or explain its change

in plans to GSF. The only GEA personnel on site stated they did not have the

expertise to deal with the issues that were present. Thus, GEA intentionally

misrepresented that it would send a qualified commissioning engineer to the

Opelika facility and left GSF with inoperative Spiral Freezers.

      53.    GSF is informed and believes, and thereon alleges, that at the time

G.    Defendants made these statements to GSF and/or failed to disclose material

facts to GSF, GEA Defendants knew they were false and misleading and they were

designed to deceive and induce GSF to enter into the Agreement and/or falsely

assure GSF that issues with the Spiral Freezers would be resolved.

      54.    GSF justifiably relied on GEA Defendants' false statements and/or

material ornissions to its detriment.

      55.    Had GSF known the actual facts, it would not have contracted with

GEA Defendants and expended time, money and resources for the Spiral Freezers.

      56.    As a direct and proximate result of GEA Defendants' fraudulent

conduct, GSF has been darnaged in an amount subject to proof at the time of trial.




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         57.   GEA Defendants acts alleged above were willful, wanton, malicious,

oppressive and undertaken with conscious disregard for the Plaintiffs rights and

with intent to defraud Plaintiff, and justify the award of exemplary and punitive

damages.

                    FOURTH CAUSE OF ACTION
         FRAUD NEGLIGENT MISREPRESENTATION/SUPPRESSION
                     (Against GEA Defendants)

         58.   GSF incorporates by reference all other paragraphs contained in this

Complaint as if stated herein.

         59.   GEA Defendants represented to GSF that its Spiral Freezers could

produce the 15,000 pounds per hour production that Golden State Foods needed to

run its Opelika facility.

         60.   On information and belief, GSF alleges that GEA Defendants'

misrepresentations as to the Spiral Freezers production capacity were negligent,

because GEA Defendants did not know whether the Spiral Freezers could perform

as promised in their August 2, 2016 Project Proposal Number U121023, Rev. Q

and various sales pitches, whereby GEA Defendants specifically stated to GSF that

the Spiral Freezers had the capability to efficiently run for a 17-hour production

shift.

         61.   GEA Defendants suppressed that they d d not know whether the

Spiral Freezers could perform as promised and GEA Defendants' representations



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were false and made with a reckless disregard for whether they were true or not.

GEA Defendants' negligent representations and suppression were a ploy to induce

GSF to agree to purchase its products over other those of other companies.

      62.    Furthermore, GEA made written commitments to send a qualified

commissioning engineer to the Opelika facility to resolve ongoing technical issues

with the Spiral Freezers, as discussed in Paragraph 27 above. However, this

engineer did not arrive as promised, and GEA did not notify or explain its change

in plans to GSF. The only GEA personnel on site stated they did not have the

expertise to deal with the issues that were present. Thus, GEA negligently

represented that it would send a qualified commissioning engineer to the Opelika

facility and left GSF with inoperative Spiral Freezers.

      63.    GSF is informed and believes, and thereon alleges, that at the time

GEA Defendants made these statements to GSF and/or failed to disclose material

facts to GSF, GEA Defendants knew and/or should have known their

representations and suppression were false and misleading and they were designed

to induce GSF to enter into the Agreement and/or falsely assure GSF that issues

with the Spiral Freezers would be resolved.

      64.    GSF justifiably relied on GEA Defendants' false statements and/or

material omissions to its detriment.




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      65.    Had GSF known the actual facts, it would not have contracted with

GEA Defendants and expended time, money and resources for the Spiral Freezers.

      66.    As a direct and proximate result of GEA Defendants' fraudulent

conduct, GSF has been damaged in an amount subject to proof at the time of trial.

                       FIFTH CAUSE OF ACTION
                    BREACH OF EXPRESS WARRANTY
                        (Against GEA Defendants)

      67.   GSF incorporates by reference all other paragraphs contained in this

Complaint as if stated herein.

      68.    An express statement of warranty is contained in the Agreement

between GSF and GEA Defendants that the Spiral Freezers "will be free from

defects" and "will conform to the requirements" of the Agreement. Agreement, §

A.3.5.1. In addition, GEA Defendants gave GSF the August 2, 2016 Project

Proposal Number U121023, Rev. Q, which detailed the specifications of the Spiral

Freezers.

      69.   The Spiral Freezers did not perform as promised and did not meet the

quality ofthe August 2, 2016 Project Proposal Number U121023, Rev. Q.

      70.   Moreover, GSF took reasonable steps to notify GEA Defendants with

a reasonable time that the Spiral Freezers were not functioning as represented, and

GEA Defendants received such notice.




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      71.    GEA Defendants failed to repair the Spiral Freezers as required by the

warranty.

      72.    As a direct and proximate result of the Spiral Freezers failure to

operate as represented by GEA Defendants, and due to GEA Defendants'

subsequent failure to repair the Spiral Freezers, GSF has been damaged in an

amount subject to proof at the time of trial.

                  SIXTH CAUSE OF ACTION
   VIOLATION OF ALABAMA DECEPTIVE TRADE PRACTICES ACT
                  ALA.CODE §§ 8-19-1 et seq.
                   (Against GEA Defendants)

      73.    GSF incorporates by reference all other paragraphs contained in this

Complaint.

      74.    GEA Defendants, by engaging in the wrongful conduct alleged herein,

have engaged in unlawful, unfair or fraudulent business act(s) or practice(s) within

the meaning of Alabama Code §§ 8-19-1 et seq.

      75.    GEA Defendants' unlawful, unfair or fraudulent business act(s) or

practice(s) have resulted in an unfair competitive advantage to GEA Defendants

and have damaged GSF's business, by virtue of the acts alleged herein. GEA

Defendants furthered their own interests by their fraudulent conduct and by

violating their express contractual obligations to GSF.

      76.    GEA Defendants' acts have been and continue to be immoral,

oppressive and in violation of established public polices, including those embodied


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in the Alabama Code. GEA Defendants actions serve no legitimate business

purpose and, if any possible legitimate purpose existed, it would be far outweighed

by public policy and the significant harm GEA Defendants' acts have caused GSF.

      77.    As a direct and proximate result of GEA Defendant's unlawful and

deceptive trade practices, GSF has been damaged in an amount subject to proof at

the time of trial. Additionally, GEA Defendants acts alleged above were willful,

wanton, malicious, oppressive and undertaken with conscious disregard for the

GSF's rights and with intent to defraud GSF, and justify the award of treble

damages.

      78.    GSF and the members of the public have suffered and, unless and

until GEA Defendants' misconduct is enjoined, will continue to suffer irreparable

harm for which there is no adequate remedy at law as a direct and proximate result

of GEA Defendants' unfair conduct. GSF therefore is entitled to injunctive relief

against GEA Defendants committing or engaging in further unfair business

practices against GSF.

      79.    Pursuant to Alabama Code § 8-19-10, GSF is entitled to its attorneys'

fees and costs in pursuing this action.




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                        SEVENTH CAUSE OF ACTION
                           UNJUST ENRICHMENT
                          (Against GEA Defendants)

      80.     GSF incorporates by reference all other paragraphs contained in this

Complaint.

      81.     As set forth above, GSF conferred numerous benefits on GEA

Defendants, including but not limited to millions of dollars in progress payments

that GSF paid for the deficient and defective Spiral Freezers.

      82.     At all material times hereto, GEA Defendants were aware of the

benefits that were being conferred upon them by GSF and that GSF expected to be

provided a working product in exchange for its progress payments.

      83.     Notwithstanding the benefits conferred upon them by GSF, GEA

Defendants have refused to provide GSF with a refund of any payments for the

benefits GSF has conferred and GEA Defendants have wrongfully received.

      84.     As a result of GEA Defendants' conduct, GSF has suffered a loss.

      85.     GEA Defendants' retention of the benefits without reimbursement to

GSF of the value of the benefits conferred is both unjust and inequitable.

Accordingly, GSF is entitled to full restitution and/or disgorgement of all revenues,

earnings, profits, compensation, and benefits that may have been obtained by GEA

Defendants.




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      86.     As a direct and proximate result of GEA Defendants' conduct, GSF

has suffered, and continues to suffer, substantial harm and damages in an amount

subject to proof at the time of trial.

                         EIGHTH CAUSE OF ACTION
                             INDEMNIFICATION
                    (Against GEA and Insurance Defendants)

      87.    GSF incorporates by reference all other paragraphs contained in this

Complaint.

      88.    The Agreement expressly states that GEA "shall indemnify and hold

harmless [GSF], its agents and employees from and against claims, damages,

losses and expenses, including but not limited to attorneys' fees, arising out of or

resulting from performance of the Work, provided that such claim, damage, loss or

expense is attributable to bodily injury, sickness, disease or death or to physical

injury to or destruction of tangible property other than the Work itself, but only to

the extent caused by the negligent acts or omissions of [GEA], a Contractor, a

Subcontractor, anyone directly or indirectly employed by them or anyone for

whose acts they may be liable, but only to the extent that such claim, damage, loss

or expense does not arise out of or relate to breach, negligence or willful

misconduct of[GSF]." Agreement, § A.3.17.1.

      89.    Section A.11.2.1 ofthe Agreement also specifically requires that GEA

obtain commercial general liability insurance to cover their indemnification



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obligations, including but not limited to, loss of product (i.e., thousands of GSF's

hamburger patties) and damages arising from destruction of tangible property.

      90.     On information and belief, Insurance Defendants provide commercial

general liability insurance to GEA Defendants (Policy Number CGL2006329,

Certificate Number 48260281) to cover their indemnification obligations under the

Agreement.

      91.     GEA Defendants' willful rnisconduct and gross negligence in the

provision of products and services to GSF caused GSF significant pecuniary harm,

substantial product loss, increased operational costs, and property damage due to

their defective Spiral Freezers.

      92.    Pursuant to the Agreement, GSF seeks indemnification from

Insurance Defendants for the losses GSF incurred as a result of GEA Defendants'

malfeasance, in an amount subject to proof at the time oftrial.

                             PRAYER FOR RELIEF

WHEREFORE,GSF demands the following relief:

      1.     A judgment in favor of GSF,and against all Defendants on all counts;

      2.     Damages, including enhancement up to treble damages, in an amount

to be determined at trial, but no less than $9 million in monetary losses;

      3.     Restitution of moneys and disgorgement of profits unjustly obtained

by GEA Defendants;



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               Enhancement and trebling of damages due to willfulness and bad

faith;

               Exemplary and punitive damages;

         6.   Pre-judgment interest at the legally allowable rate on all arnounts

owed;

         7.    The entry of a preliminary and/or permanent injunctive relief barring

GEA Defendants from committing or engaging in further unfair business practices

against GSF; and

         8.   Such other and further relief as this Court may deem just and proper

to fully compensate GSF.

                           DEMAND FOR JLTRY TRIAL

         GSF, under Rule 38 of the Federal Rules of Civil Procedure, hereby

demands a jury trial as to all issues that are so triable.

         This 4th day ofDecember, 2018.

                                         Respectfully submitted,

                                                                       /
                                         /s/        _            -"P4OPPAIIIIIPP
                                         Bruc . Gordon(A 7PF      •7R70B)
                                         Joh     Dana(ASB-0493-A52J)
                                         Ja s A. Stewart(ASB-6201-E64S)
                                         Attorneys for Plaintiff




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PLEASE SERVE DEFENDANTS BY CERTIFIED MAIL AS FOLLOWS:

GEA Systems North America LLC (Certified Mail)
c/o Cogency Global, Inc., Registered Agent
2 North Jackson Street
Suite 605
Montgomery, Alabama 36104

Allianz Global Risks U.S. Insurance Company(Certified Mail)
CT Corporation System
4701 Cox Road, Suite 285
Glen Allen, Virginia 23060

Zurich American Insurance Company (Certified Mail)
c/o Corporation Service Company,Inc., Registered Agent
641 South Lawrence Street
Montgomery, Alabama 36104

American Zurich Insurance Company(Certified Mail)
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641 South Lawrence Street
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PLAINTIFF WILL SERVE DEFENDANTS BY SPECIAL PROCESS
SERVER AS FOLLOWS:

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GEA Refrigeration North America
4319 South Alston Avenue
Suite 105
Durham, North Carolina 27713

Karl Parkinson (Process Server)
1110 Riverside Drive North
Hudson, Wisconsin 54016

John Ansbro (Process Server)
2693 Mayfair Lane
York,Pennsylvania 17408

Neils Erik Olsen (Process Server)
758 Woodcrest Drive North
Hudson, Wisconsin 54016

PLEASE SERVE THE FOLLOWING DEFENDANTS ACCORDING TO
THE REQUIREMENTS OF THE HAGUE TREATY/CONVENTION:

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